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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


JOSHUA LANG WHIGAN,                )
                                   )
     Petitioner,                   )
                                   )        CIVIL ACTION NO.
     v.                            )          2:19cv685-MHT
                                   )               (WO)
UNITED STATES OF AMERICA,          )
                                   )
     Respondent.                   )

                              JUDGMENT

    In accordance with the memorandum opinion entered

this date, it is the ORDER, JUDGMENT, and DECREE of the

court as follows:

    (1) Petitioner's          objections        (Doc.       34)        are

overruled.

    (2) The         United     States       Magistrate          Judge's

recommendation (Doc. 33) is adopted.

    (3) The    28    U.S.C.    §   2255   petition      (Doc.     1)    is

denied.

    It is further ORDERED that costs are taxed against

petitioner, for which execution may issue.

    The clerk of the court is DIRECTED to enter this
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document   on   the    civil     docket    as   a   final     judgment

pursuant   to   Rule   58   of    the   Federal     Rules    of   Civil

Procedure.

    This case is closed.

    DONE, this the 31st day of May, 2022.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE
